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                                   EXHIBIT A
                           14‐DAY AND 30‐DAY BUDGET
                INCOME               DAYS 1‐14    DAYS 15‐30    30 DAY TOTALS

Opening Cash:                        $1,200.00    $20,565.22

Projected Cash Receipts:            $125,000.00   $125,000.00    $250,000.00
EMPLOYEE PAYROLL                     $53,250.00   $53,250.00     $106,500.00
CONTRACT SERVICES (1099)             $1,200.00     $1,200.00      $2,400.00
LAND/TRUCK YARD LEASE                $12,999.00   $12,999.00     $25,998.00
MODULAR BUIDLING LEASE               $1,600.00     $1,600.00      $3,200.00
TRUCK FUEL                           $25,000.00   $25,000.00     $50,000.00
TRUCK REPAIR AND MAINTENANCE         $10,000.00   $10,000.00     $20,000.00
INSURANCE                            $6,250.00     $6,250.00     $12,500.00
OFFICE SUPPLIES                      $1,000.00     $1,000.00      $2,000.00
FOOD, MEALS, TRAVEL                   $500.00      $500.00        $1,000.00
UTILITIES                             $750.00      $750.00        $1,500.00
PHONE/INTERNET                        $375.00      $375.00         $750.00
VINYL DOOR PRINTING                   $250.00      $250.00         $500.00
BANK SERVICE CHARGES                  $175.00      $175.00         $350.00
ACCOUNTING                            $500.00       $500.00       $1,000.00
ATTORNEY FEES                        $2,000.00     $2,000.00      $4,000.00
SUBCHAPTER V TRUSTEE                  $750.00      $750.00        $1,500.00
TOTAL PROJECTED CASH
                                    $113,349.00   $113,349.00    $226,698.00
DISBURSEMENTS
CASH ON HAND AFTER
                                     $12,851.00   $32,216.22     $32,216.22
DISBURSEMENTS
